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                                                   #:811



 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
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 8
 9                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
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11
      Arjun Vasan,                                           Case No.: 2:25−cv−00765−MEMF−JPR
12
                     Plaintiff,
13
             vs.                                             REQUEST FOR JUDICIAL
14                                                           NOTICE OF THE
      Checkmate.com, Inc.,
15                                                           NONEXISTENCE OF PRE-
      (dba “Checkmate”),
16                                                           MERGER EMPLOYMENT
                     Defendant.
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      Plaintiff respectfully requests that the Court take judicial notice of the indisputable fact that he
22
      was never employed by Defendant Checkmate.com, Inc. prior to the closing of the merger
23
      agreement referenced in this action.
24
25    Judicial notice is appropriate under Fed. R. Evid. 201(b)(2) because this fact is not subject to
26    reasonable dispute and is readily verifiable from Defendant’s payroll records, executed offer
27    letters, and prior sworn filings.
28
                                                         1

             MEMORANDUM IN OPPOSITION TO DEFENDANT'S MOTION TO DISMISS OR TRANSFER VENUE
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                                                 #:812



 1    This fact is confirmed by Defendant’s own records, the publicly verifiable timeline of events,
 2    and sworn declarations submitted by both parties. Plaintiff’s employment with Checkmate began
 3    only after the merger closed and was expressly conditioned on its completion. Defendant has not,
 4    and cannot, identify any pre-merger employment relationship between Plaintiff and Checkmate.
 5
      Nonetheless, Defendant has argued that § 7.4 of the Merger Agreement applies only to “pre-
 6
      merger employment claims” (“Reply”, ECF No. 32 at 10:24–12:4)—a category which, by their
 7
      own admissions, does not apply to Plaintiff, as no such employment existed.
 8
      Additionally, Defendant argues that Plaintiff’s reading of the Merger Agreement is strained. Id.
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                                                          Respectfully Submitted,
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14

                                                          Arjun Vasan
15     Dated: Monday, April 23, 2025

16                                                By: ___________________________________
17
                                                          Arjun Vasan
18                                                        Plaintiff In Pro Per
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             MEMORANDUM IN OPPOSITION TO DEFENDANT'S MOTION TO DISMISS OR TRANSFER VENUE
